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                                                                             FILED IN THE

1                                                                        U.S. DISTRICT COURT
                                                                   EASTERN DISTRICT OF WASHINGTON




2                        UNITED STATES DISTRICT COURT              May 13, 2020
                                                                        SEAN F. MCAVOY, CLERK
                       EASTERN DISTRICT OF WASHINGTON
3

4    STATE OF WASHINGTON;
     COMMONWEALTH OF VIRGINIA;                 NO: 4:19-CV-5210-RMP
5    STATE OF COLORADO; STATE
     OF DELAWARE; STATE OF
6    ILLINOIS; COMMONWEALTH OF                 ORDER DENYING IN PART AND
     MASSACHUSETTS; DANA                       GRANTING IN PART
7    NESSEL, Attorney General on behalf        DEFENDANTS’ MOTION TO STAY
     of the people of Michigan; STATE OF       DISCOVERY ORDER RE:
8    MINNESOTA; STATE OF                       PRIVILEGE LOG
     NEVADA; STATE OF NEW
9    JERSEY; STATE OF NEW
     MEXICO; STATE OF RHODE
10   ISLAND; STATE OF MARYLAND;
     STATE OF HAWAI’I,
11
                              Plaintiffs,
12
           v.
13
     UNITED STATES DEPARTMENT
14   OF HOMELAND SECURITY, a
     federal agency; KEVIN K.
15   MCALEENAN, in his official
     capacity as Acting Secretary of the
16   United States Department of
     Homeland Security; UNITED
17   STATES CITIZENSHIP AND
     IMMIGRATION SERVICES, a
18   federal agency; KENNETH T.
     CUCCINELLI, II, in his official
19   capacity as Acting Director of United
     States Citizenship and Immigration
20   Services,

21                            Defendants.


     ORDER DENYING IN PART AND GRANTING IN PART DEFENDANTS’
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1          BEFORE THE COURT is the Defendants 1 (“DHS”) Motion for Stay of

2    Order or, in the Alternative, for Extension of Time to Produce Privilege Log, ECF

3    No. 213. The Court previously found good cause to expedite hearing of the portion

4    of DHS’s motion relating to staying production of a privilege log. ECF No. 215.

5    Having considered Defendants’ motion, Plaintiffs’ 2 (the “States”) opposition, and

6    Defendants’ reply, the remaining docket, and the relevant law, the Court is fully

7    informed.

8          In resolving a Motion to Compel filed by the States, the Court found that the

9    States had rebutted the presumption that the administrative record is complete,

10   because there is clear evidence that certain communications that the agency relied

11   upon in the rulemaking process were omitted from the record. ECF No. 210 at 11;

12   see also ECF No. 195 at 7−8. Consequently, the Court ruled that production of a

13   privilege log by DHS is appropriate and necessary to facilitate further inquiry into

14   the nature and appropriateness of the alleged privilege, or privileges, that DHS seeks

15

16   1
      Defendants in this lawsuit are the United States Department of Homeland
     Security (“DHS”), Acting Secretary of DHS Kevin K. McAleenan, United States
17   Citizenship and Immigration Services (“USCIS”), and Acting Director of USCIS
     Kenneth T. Cuccinelli II (collectively, “DHS”).
18
     2
       The Plaintiffs in this lawsuit are the State of Washington, Commonwealth of
19   Virginia, State of Colorado, State of Delaware, State of Hawai’i, State of Illinois,
     State of Maryland, Commonwealth of Massachusetts, Attorney General Dana
20
     Nessel on behalf of the People of Michigan, State of Minnesota, State of Nevada,
21   State of New Jersey, State of New Mexico, and State of Rhode Island (collectively,
     the “States”).

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1    to invoke to support exclusion of the communications from the administrative

2    record. Id. at 12.

3           DHS seeks to stay the requirement of providing a privilege log until a not-yet-

4    filed motion to dismiss has been decided. ECF No. 213 at 6. Alternatively, DHS

5    seeks to extend the time to provide a privilege log. Id. at 8. The States oppose a

6    stay of the privilege log deadline pending resolution of a forthcoming motion to

7    dismiss, but consent to a limited extension of the privilege log deadline. ECF No.

8    216.

9           The four factors to consider regarding a stay of a prior order include: “‘(1)

10   whether the stay applicant has made a strong showing that he is likely to succeed on

11   the merits; (2) whether the applicant will be irreparably injured absent a stay; (3)

12   whether issuance of the stay will substantially injure the other parties interested in

13   the proceeding; and (4) where the public interest lies.’” Lair v. Bullock, 697 F.3d

14   1200, 1203 (9th Cir. 2012) (quoting Nken v. Holder, 556 U.S. 418, 433 (2009)).

15          “‘A stay is not a matter of right, even if irreparable injury might otherwise

16   result.’” Nken, 556 U.S. at 433 (quoting Virginian R. Co. v. United States, 272 U.S.

17   658, 672 (1926)). Rather, a stay is “‘an exercise of judicial discretion,’” and “‘the

18   propriety of its issue is dependent upon the circumstances of the particular case.’”

19   Id. (quoting Virginian R. Co., 272 U.S. at 272−73) (alterations omitted).

20          DHS makes no showing in its Motion to Stay of a likelihood of success on the

21   merits. Rather, DHS relies on the reasoning of the Ninth Circuit Court of Appeals


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1    motions panel in deciding whether to stay the preliminary injunction in this matter to

2    argue that DHS will succeed with its yet unfiled motion to dismiss. See ECF Nos.

3    213 at 6; 218 at 3 (citing City & County of San Francisco v. USCIS, 944 F.3d 773,

4    805 (9th Cir. 2019)). The merits of the claims raised by the States’ Amended

5    Complaint are an open question. The Ninth Circuit’s opinion does not purport to

6    determine the merits, nor was the motion panel’s decision based on a complete

7    administrative record, which was not yet produced. See City & County of San

8    Francisco, 944 F.3d 773; ECF No. 216 at 4. To the extent that DHS is predicting

9    that a forthcoming motion to dismiss will be resolved in their favor, they have not

10   made an adequate showing to support staying the privilege log requirement on that

11   basis.

12            Next, with respect to whether DHS will be irreparably harmed by the

13   requirement of producing a privilege log, the Court rejects DHS’s argument that a

14   privilege log has no relevance at the pleading stage. See ECF No. 213 at 6. DHS

15   did not object to producing the administrative record in this matter in November

16   2019. See ECF No. 193 at 2. As early as that production, DHS should have been

17   aware of what was included and excluded from the record and why. By contrast, the

18   States persuasively argue that they will be harmed the longer DHS is excused from

19   compiling a privilege log in the form of “routine deletion, inadvertent loss, and

20   destruction of relevant e-mails, text messages, and other documents.” ECF No. 216

21   at 2.


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1          The public interest factor also disfavors a stay here, as a privilege log

2    facilitates a determination of whether the agency is invoking a privilege to protect a

3    public interest in confidentiality or to the detriment of a competing public interest in

4    disclosure. See PG&E v. United States, 70 Fed. Cl. 128, 142 (2006) (requiring

5    defendant agencies to provide specific reasons for protecting documents helps to

6    ensure that “the government official called upon to examine documents ‘has

7    inspected the individual documents and determined that the public interest in

8    confidentiality (as distinct from the government’s interest in the litigation)

9    outweighs the public interest in disclosure.’”) (quoting Resolution Trust Corp. v.

10   Diamond, 773 F. Supp. 597, 603 (S.D.N.Y. 1991)).

11         Therefore, based on all of the relevant factors and in light of the likelihood of

12   serious harm to the States’ interest and the public in learning what materials DHS

13   withheld from the administrative record, the Court finds the States’ consent to an

14   extended deadline for DHS to produce the privilege log on a rolling basis to be

15   reasonable.

16         Accordingly, IT IS HEREBY ORDERED:

17         1.      DHS’s Motion to Stay Motion for Stay of Order or, in the Alternative,

18   for Extension of Time to Produce Privilege Log, ECF No. 213, is DENIED IN

19   PART with respect to staying production of the privilege log pending a forthcoming

20   motion to dismiss, and GRANTED IN PART with respect to extending the

21   deadline for DHS to produce a privilege log as follows:


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1               a. DHS shall produce a privilege log on a rolling basis starting on June 12,

2                  2020.

3               b. Beginning on June 12, 2020, DHS shall make reports to the Court and

4                  the States every other Friday, on their progress toward completion of

5                  the privilege log. This report should include DHS’s progress on:

6                     i. notifying potential custodians of their obligation to preserve

7                          potentially relevant documents, even if assertedly privileged;

8                     ii. segregating all assertedly privileged documents for review; and

9                    iii. logging privileged documents pursuant to Fed. R. Civ. P.

10                         26(b)(5)(A). The numbers of custodians notified and documents

11                         segregated and logged that are reported in DHS’s report should

12                         be stated in absolute terms and as a percentage of the whole, so

13                         the States and the Court can assess DHS’s progress toward

14                         completion.

15         2.      The Motion for Stay of Order, ECF No. 213, shall remaining pending

16   for further briefing on the issue of whether to stay discovery on the States’ equal

17   protection claim. See ECF No. 215.

18         IT IS SO ORDERED. The District Court Clerk is directed to enter this

19   Order and provide copies to counsel.

20         DATED May 13, 2020.
                                                  s/ Rosanna Malouf Peterson
21                                             ROSANNA MALOUF PETERSON
                                                  United States District Judge
     ORDER DENYING IN PART AND GRANTING IN PART DEFENDANTS’
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